       Case 8:05-cr-00420-JSM-TBM Document 376 Filed 09/06/07 Page 1 of 9 PageID 1165
A 0 2458 (Rev 06/05) Sheel I - Judgment in a Crimrnal Case


                            UNITED STA TES DISTRICT COURT
                                                  MLDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                               CASE NUMBER: 8.05-cr-420-T-30TBM
                                                               USMNUMBER: 577399-004
VS.




KENNETH AKSON
                                                               Defendant's .4ttomey: James S. Benjamin, ret.

THE DEFEKDAKT:

-
X pleaded p l t y to count(s) THREE of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the cow.
- was found guilty on count(s) after a plea of not @ty.


TITLE & SECTION                     NATURE OF OFFENSE                             OFFENSE ENDED                       COLT.IT
18 U.S.C. $6 I956(a)(l)(A)(1),      Conspiracy to Commit Money Laundering         September 28, 2005                   Three
1956(B)(I) and 1956(h)              Offenses


       Tile defendant ir sentenced as prov~dedin pages 2 though 6 of tlusjudgment. The sentence 1s ~mposedpursuant to the Sentencmn+
Reform Act of 1984

- The defendant has been found not guilty on count(s)
-
X Count(s) ONE and TWO of the Ind~ctmentare dmnssed on the motmn of the United States

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all tines, restitution, costs; and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the coua and United States Attorney of any material change in econonuc
CU cumstances.


                                                                                  Datc of Imposition of Sentence: September 5,2007




                                                                                  DATE: September   A,         2007
         Case 8:05-cr-00420-JSM-TBM Document 376 Filed 09/06/07 Page 2 of 9 PageID 1166
A 0 245B (Rev 06/05) Sheet 2. - Imprisonment (Jud_gment in a Criminal Case)
Defendant:            KENNETH ANSON                                                                                Judgment - Page 2of 6
Case Yo.:             8:05-cr-320-T-30TBh,I




                                                                              and a11 of the factors identified in Title 18 I1.S.C. $$
        After co~lsitleringthe a d ~ ~ i s o sr ey ~ l t c t ~ c i g~iitlelir~es
                                                                   t~g
3553(a)(l)-(7): the court finds that the sentence imposed is sufficient,b u t not greater than necessary, to comply with
the statutory purposes of sentencing.


          T11ttlefc~icla~it
                          is hcrebj. conitnitted to tllc custody of the h i t e d States Bureau ot'l'risons to 11c imprisoned for
a total t e r m of EIGI-ITEEN (18) MOYTHS as to Count Three of the Tntlictnlent \vith crctlit for time ser\~cci.




                makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FDC hliami (FL).
      The co~11-t
' h e defeildant shall participate in the 500 hour intensive drug treatment program while incarcerated.



-- T$e ~ c t i . ~ ~ l ;1sl nre~n.\n.lcd
                              r        lo thc custod!. ol'thc Un~tcdStates Marshal.
- '1 hc dc.ien;l,mr shal, si11.rcnclcr to the Lh~ieclStates h.lnrshal for this district.


           - 31 - a.m./p.m. on -.
           - as notitied by the Unitcd States Marshal.

X The dcfe~dantshall surrender for service of sentence at the institution designated by the Bureau of Prisons.
-
            - before 3 p.m. on -.
            - as notilied b! tlic U n ~ ~ cStates
                                            d     hlarsln!.
            2a; not~ticdI:? :hL Probation or P -er:~alSCI~ l ~ cOfficc.
                                                                es




                                                                             RETCRIV

            I ha\^ excci~te:lthis judgment as follows:




            Defendant delivered on                                                  to
- at                                                                          , with a certified copy ofthis judgment.



                                                                                           United St:~lcsMarshal

                                                                               Bv:
                                                                                                   Deputy United States Marshal
        Case 8:05-cr-00420-JSM-TBM Document 376 Filed 09/06/07 Page 3 of 9 PageID 1167
A 0 215B (Re\. 06,45 I Shcct 3 - Supervised Release (Judgment in a C~.iminalCnsc)

Ilefendant:                                                                                                                Judgmcnt - Pagc 3 of
Case No.:
                                                                SUPERVISED RELEASE

           Upon release from i m p r i s o n m e n t , t h e defendant shall be o n supervised rele;ise for a t e r m of T H R E E (3) J7E.411Sas t o
C o u n t Three of ttlc 1 ntl ictnlent.

         'The defendant musl repor1 to thc pl-obario~loffice in the district to \vhich the dcfkndant is released within 72 hours ufrclcasc from
the custody o f the Bureau of Prisons.

T h e defendant shall nut c o ~ n m i another
                                      t       federal. state, or local crime. T h e defendant shall not unlawfully possess a controllecl substance.
T h e defendant shall rcfi-ain from any u n l a w h l use o f a controlled substance. T h e defendant shall submit to one drug test within 15 days
of release from imprisonmsnt and a1 l u s t two periodic drug tests thereafter. as determincd by the court.

          T h e delsndalt shall not possess a firearm, destructive clevicc, or a n y other d:~ngerousweapon.

          T h e defendan1 shall coopcrate in the cullection of' DNA as clirectcd by the l ~ r o l ~ t i oSfifioes.
                                                                                                        oi~

           If this judgnlent imposes a fine o r restitution it is a condition of s u p e ~ v i s e dr e l e ~ ~ that
                                                                                                                s e the defendant pay in accordance w ~ t hthe
              Schedule 01'Pnynents sheet o f this judgment.

           1'112 d e f c l l d m ~I T I U S ~C O I I I P I ~ with thc standard cr)nditions that have been adopted b y   his court a s well as ~ t i t hany additional
           co~:dit:oiiso n :hc :attached page.



           the defendant shall not leave the judicial district without the perniissio~iof the cousr or probation oiticcr;

           the defendant shal seport to the probation officer and shall submit a tri~tht'uland coniplete written report u4hin thc first fi1.e days of each
           month;

           t l ~ cd:f-:ndan4 sllal :~nsuurtrirthfully all i~iq~riries
                                                                   by thc pobation officer and follow he ~nstruct~ons
                                                                                                                   of'thc pr-obat~onoficcr-,

              the dekndmt shal support 111sor her dcp~'ndentsand mcel other f a m ~ lI*cspons~bil~t~cs,
                                                                                        ~

           the defendant shal ~vorkregularly at a lawful occupation, unless s s c u s d b! the probation officer for schooling, train~ng,or othcr
           acceptable rcasons;

              the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

              the d;.fmdanr sl.iali rcfrain from esccssivc use of alcohol and shall not purcl-ass, posscss, use, distribute. or adn1inlsrc.r any conirolled
                        (1s a n y pa~.:iphcr.nril~;rrelated to any controllccl substances, cxccpt as prcscribcd by a physician;
              s~~bsr::ncc

              the defendant shall not freque~itplaces where controlled substances arc illegally sold, i~scd,distributed, or admnistcred;

              the defendant shall not associate with any pcrsons engaged in criminal 3ctiv:ty and sh:rll not associate with any pcrson convicted ofrt
              felony, unless glmted permission to do so by the probation officer;

              the defendant shal! pernit a probation officcr to visit him or her at any time at home or clscwhere and shall permit confiscation of any
              cmtr.iba!id o!)s~-riwfin pla~n\icw of the probation officer,

              the dcfcndmt shall not~t')'tlic probat~onofficer wthin scvcnty-t\\u hoi~rsof be~ngarrcstcd or- qi~est~oncd
                                                                                                                      by 3 la^ cnforcemenr cjil?ccr;

              the defendm shall not enter into any agrcenient to act as an ~nformcror a special agent of a law enforcement agency without tlic
              per~nisrionof the court; and

              as directed by the probation officcr, the defendant shall notify t h n i pal tles of risks tliar rnry be occasioned by the dcfcndcint'a c~~ n i ~ nrecord
                                                                                                                                                                 al
              or personal history or charactcristics and shall permit the probation officcr to makc such notitlcations and to confirm the defendant's
              coni~li:~ncc :11'1such notification reqirlremcnt.
                           I
        Case 8:05-cr-00420-JSM-TBM Document 376 Filed 09/06/07 Page 4 of 9 PageID 1168

A 0 245B (Rcv. OGi05) Shect 3C - Superwsed Releasc (Judgment in a Criminal Casc)

Dcrendant :         ICE N V I .TH A N S O S                                                                 Judgicnt - Page 3of 6
C as(: h o . :      F :05-ct---t20-1'-30TRbI

                                          SPECIAL CONDITIOKS OF SCPE~II\lSlON

           7'hc t!efend:int shall also comply with tlic following additional conditio~lsof supervised rclcasc:


--
 S         The cicfsndm shall cooperate in the collection of DNA as directed by the probation officer.

x
-          Thz ~nandatorytlmg testins provisions shall ~lpplypursuant to the Violent Criti~cControl Act. The Co~11.t
                                                                                                                  a u t 1 l 0 1 . i ~random
                                                                                                                                      ~~
           drug testing not to exceed 101 tests per year.
       Case 8:05-cr-00420-JSM-TBM Document 376 Filed 09/06/07 Page 5 of 9 PageID 1169
A 0 245B (Rev OG!Oi)   Sheel 5 - Criminal Monetary Penalties (Judg~ncntin a Cr~n~inal
                                                                                   Casc)

Defendant:          KENNETH ANSON                                                                          Judgment - Page 5 of 6
Case No.:           8:05-cr-110-T-30TBM

                                            CRIMINAL MONETARY PENALrI'IES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                             Fine                         Total Restitution

          Totals:            $1 00.00                               Waived                                 N/ A




-         T11s defendant must make restitution (including conmlunity restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial p:lyment. each p q e e shall receive an appl-oxinlately proportioned payment, L ~ I C S S
          specified other\s.ise in the priority order or percentage pa ment colu~nnbelow. IIowever. pursuant to 18 I*.S.('.$
          36ti4(i). all non-federal victims must be p d before the Jnitcci States.


S a m e of Payee                                 Total Loss*                  I<cstitution Ordered                   Priority or Percentao,e




                             Totals:             -
                                                 $                            S;


-         Restih~tionmount ordered pursuant to plea agreement S
-         The clefcndant must pay interest on 3 fine or restitution ofmore than $2,500: 11nlcssthe restitution or finc is paid in fill1
          bclbre the i?ftcenth day afier the dats oi'the judgment. pursuarlt to I b V.S.C. 9 3612(t). All of the payment options on Sheer
          6 niay be subject to penaltics for delinquency and defhul~.l~ursi~nnt  to 18 U.S.C. 5 36 l?(g,).

-         'I'11e coui-t detern~inedthat the defendant does not have the ability to pay inlel-cst and it is ordered that:

         -          the interest requirement is waived for the - fine - restitution.
         -          the interest requirenlent for the - fine - restih~tionis modified as follows:


* 1-indings for the total ;;mount of losses art. required under Chapters 109A. 1 10, 1 10.4, :~nd1 13.4 ot'Title 1 S for thc offenses conlmitted
011 or after September 13. 1994, but before April 23, 1996.
        Case 8:05-cr-00420-JSM-TBM Document 376 Filed 09/06/07 Page 6 of 9 PageID 1170
A 0 24SB (Re\?06/05}Slicut 6 - Schcdulc of Paynicnts (Judgment in a Criminal Casc)

                                                                                                        Judgment - Page         of'L




                                                   SCHEDULE OF PAI'ILIESTS



Hwmg assesbed thc defL.1-idant'sability to pay. payl~entof the total criminal ~nonct'nrypsnalt~esare duc as tbllo\\~s:

A.         X       Lump sum payment of S $100.00 due immediately, balance due
                             -not later than                  . or


B.       -         Paj~mcnt!o b q i n immediately (may be conibincd \vith              ,        D.ot-       F 1 x 1 0 ~); 01-
C.       -         Pajrment in equal                  (e.g., weekly. nloiithly. quarterly) instal lments of S          over a period
                   of           (e.g., months or years), to coinnlence             days (e.g.. 3(1 or 60 days) alter the date of this
                   juclgnient; or
D.       -         Pa>ment in equal               (e.g., weekly, nlonthly; quarterly) installments of S           oirel-a period of'
                               , (e.g., ~nontlisor years) to commence                      (e.g. 30 or 60 days) after relcase from
                   i~nprisonmentto n term of .;i~pervision;01-
E.       -         P a ~ m c n during
                               t      the tcrm oi'superviscd seleass will C ~ ) I I I I I I ~ I I C ; C\vi thin (c.g..3 O 01' OO dayh)
                   after selease horn irr~prisonment. The court will set the payment plan based nn an assessment o t' tlic
                   defendant's ability to pay at that time. or
F.       -         Spccial instr~~ctions
                                      regarding the payment of criminal 11ioneta1-ypenalties:




Unless the court has expressly ordci-ed othzrwisc. if this judgmcnt i~l~poses
                                                                            i11ll)1-i~011111e1it~
                                                                                             paynlenl ol'criniinal monetary
penalties is due during ~mprisonment. All criminal monetary penalties, except those payments made tlrough the Fcdcsal
Bureau of Prisons' Inmate Financial Responsibility P r o ~ a m are
                                                               . made to the clei-k of the court.
The defendant shall recei~recredit for all payments previously made toward any criminal monetary penalties imposcd.


         Defendant and Cu-Defendant N'nnies and Case Numbers (including dcfkndant number). Total Amount. .loin[ and
Sei.esal Amount. and co~~esponding
                                 payee7 if' appropriate:


-        The defendant shall pay the cost of prosecution.

--        Tlie defcndnnt shall yay t11c following court cost(s):
-x        The detkndmt shall forfeit the dcfcndant's interest in the following property to the IJnited States:
         The Court orders that the defendant forfeit to the United States irninediatcly and voluntar-ily any and all a s x t s and
property. or portions thercof: subject to forfeiture. which are in the possession os control of the defendant or the defkndant's
nominees. Items to be forfeited include: $228,048.63 in L J S . Cun-ency. which I-cpresentsa portion ol'the proceeds Iron1 the
agreed sales of the properties located at 830 S.W. 12"' Place, Ft. Lauderdale. Florida (S 130.833.30). and 8360 Pasadena
Boulevard, Pembt-oke Pines. Florida (S147,214.33); a 1987 24' Fish Nautiqe "Aleksandra 11" with tailer. Hull Ident~fication
Yo. CTC! 103513717; a 1993 33' Ilnpsrial Vesscl with trailer, Ilull Idcntiiication No. IME 00010.A293; and sums of'S5,(170
.16 S1.443 It- U.S.  Gun-ency. The Court makes final thc Prttljminqf Ortlss 01' Forfeiturz [Dkt. 2971 and \vill mahc ~ h order-
                                                                                                                             c
a part oi' this J udgncnt.
Payments shall be applied in the folloii-ing order: ( 1 ) assessment. (2) resllh~tionprincipal. (3) restltutlon interest, 1 3 )fin? pr~nc~pal.
                                                                                                                                           (5)
fine interest. (6) community restitution. (7) penalties, and (8) costs. including cost of prosecution and court costs.
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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

     UNITED STATES OF AMERICA, :

           Plaintiff,

     v.                                                  CASE NO. 8:05-cr-420-T-30TBM

     KENNETH ANSON,

           Defendant.


                 FORFEITURE MONEY JUDGMENT AND PRELIMINARY
                  ORDER OF FORFEITURE FOR SUBSTITUTE ASSETS

           THIS CAUSE comes before the Court on United States' Motion for Entry of

     a Forfeiture Money Judgment (Dkt. #292) in the amount of $40.000.00 USD against

     defendant Kenneth Anson, for the money laundering violations charged in Count

     Three of the Indictment, to which he pled guilty, and a Preliminary Order of

     Forfeiture for the following boats, trailer. and currency, belonging to the defendant,

     as substitute assets in satisfaction of such money judgment:

                   (1)    I 9 8 7 24' Fish Nautique "Aleksandra II" wITrailer,
                          Registration Number: FL0489FN,
                          HULL ldentification Number: CTCI 1025B787
                          Owner of Record: Kenneth Bruce Anson;

                    (2)   1989 Avon Marine, Inc. Motorboat.
                          Registration Number: FL0303GW
                          HULL Identification Number: AVB75099A989
                          Owner of Record: Kenneth Bruce Anson; and

                    (3)   1993 33' Imperial Vessel wnrailer
                          Registration Number: FL6407LG


                                          Page 1 of -3
Case 8:05-cr-00420-JSM-TBM Document 376 Filed 09/06/07 Page 8 of 9 PageID 1172




                          HULL Identification Number: IME00010A293
                          Owner of Record: Kenneth Bruce Anson.

                   (4)    The sums of $5,070.00 and $1,443.00 in United States
                          currency, seized from Kenneth Bruce Anson on or about the
                          date of his arrest in the instant case.

     The Court, being fully advised in the premises. hereby finds as follows:

            1.     That defendant Kenneth Anson received $40,000.00 in illegal drug

     proceeds from Sergio Pantoja as a wedding present;

            2.     That Kenneth Anson knowingly laundered the illegal proceeds in

     violation of 18 U.S.C. § 1956(h), as charged in Count Three of the Indictment, to

     which he pled guilty;

            3.     That the $40,000.00 is subject to forfeiture pursuant to the provisions

      of 18 U.S.C. 3 982(a)(1) and Fed. R. Criminal. P. 32.2(b)(2);

            4.     That, as a result of the defendant's actions, the $40,000.00 in U.S.

      currency has been commingles with other funds and cannot be located upon the

      exercise of due diligence;

            5.     That, pursuant to the provisions of 21 U.S.C. § 853(p) [incorporated

      by 18 U.S.C. § 982(b)(1)], and Fed. R. Criminal. P. 32.2(b)(2), the United States is

      entitled to a Forfeiture Money Judgment in the amount of $40,000.00 USD against

      the defendant, for which he is personally liable;

             6.    That the United States, as a matter of law, is entitled to a money the

      forfeiture of any other asset, belonging to defendant Kenneth Anson, up to the value

      of the $40,000.00 USD, pursuant to the provisions of 21 U.S.C. § 853(p)

                                           Page 2 of 3
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     [incorporated by 18 U.S.C. § 982(b)(1)], and Fed. R. Criminal. P. 32.2(e)(I)(B).

             Accordingly, it is hereby

             ORDERED, ADJUDGED, and DECREED that the United States' motion (Dkt.

     #292) is GRANTED. It is FURTHER ORDERED that defendant Kenneth Anson is

      personally liable to the United States of America for a Forfeiture Money Judgment

      in the amount of $40,000.00 USD pursuant to 21 U.S.C. 9 853(p) and Fed. R.

      Criminal. P. 32.2(b)(2). It is FURTHER ORDERED that, pursuant 21 U.S.C. §

      853(p) and Fed. R. Criminal. P. 32.2(e)(I)(B), all right, title, and interest of defendant

      Kenneth Anson in the boats, trailer, and currency identified in ( I ) through (4) above

      are hereby CONDEMNED and FORFEITED to the United States of America as

      substitute assets in satisfaction of the $40,000.00 Forfeiture Money Judgment. Any

      proceeds in excess of $40,000.00 USD shall be returned to the defendant.

             The Court retains jurisdiction to enter any further orders necessary for the

      forfeiture and disposition of the subject property, and to entertain any third party

      claims that may be asserted in the ancillary proceedings.

             DONE and ORDERED in Tampa, Florida on March 28, 2007.




      Copies to:
      Anita M. Cream, AUSA
      Attorneys/Parties of Record
